Case 6:18-cv-00504-PGB-GJK Document 22 Filed 05/15/18 Page 1 of 6 PageID 108




                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

   PEDRO GONZALEZ and DANIELLE
   HERSLEBS on behalf of
   themselves and others similarly situated,

                   Plaintiff,

   v.                                                            Case No.: 6:18-cv-504-PGB-GJK

   CAR WASH HEADQUARTERS, INC.
   d/b/a MISTER CARWASH, a Foreign
   Profit Corporation and JEFFREY BURR,

               Defendants.
   _____________________________________/

                AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

           Plaintiffs PEDRO GONZALEZ and DANIELLE HERSLEBS (“Plaintiffs”), on behalf

   of themselves and others similarly situated, hereby sue the Defendants, CAR WASH

   HEADQUARTERS, INC. d/b/a MISTER CARWASH (“MISTER CARWASH”) and

   JEFFREY BURR (“BURR”) (collectively “Defendants”) and allege as follows:

                                JURISDICTION, VENUE AND PARTIES

           1.      This is an action brought under the Fair Labor Standards Act (“FLSA”).

           2.      Venue lies within the Middle District because a substantial part of the events

   giving rise to this claim arose in this Judicial District.

           3.      At all times material, Plaintiff is and was a resident of Florida.

           4.      At all times material, Defendant MISTER CARWASH was/is a Foreign Profit

   Corporation authorized to conduct business in the State of Florida, and operates a car wash at

   3720 Lake Emma Rd, Lake Mary, FL 32746.
Case 6:18-cv-00504-PGB-GJK Document 22 Filed 05/15/18 Page 2 of 6 PageID 109




          5.       At all times material, Defendant BURR is and was a resident of Seminole

   County.

                                  GENERAL ALLEGATIONS

          6.       Defendant MISTER CARWASH operates car wash and express lube services.

          7.       Defendant BURR is the Regional Manager for the Lake Mary location of

   MISTER CARWASH.            In that position, BURR exercises significant control over the

   company’s operations, has the power to hire and fire employees, the power to determine

   salaries, the responsibility to maintain employment records and has operational control over

   significant aspects of the company’s day-to-day functions.

          8.       Defendants are employers as defined by the Fair Labor Standards Act, as

   amended, 29 U.S.C. § 216(b), et seq. (“FLSA”).

          9.       At all material times, Defendants were an enterprise covered by the FLSA, and

   as defined by 29 U.S.C. §203(r) and 203(s) and during all relevant times had at least two

   employees and had an annual dollar volume of sales or business done of at least $500,000.

             10.   Plaintiff PEDRO GONZALEZ was employed by Defendants from 2014

   through April 24, 2017 as a Customer Sales Associate (“CSA”), during which time he was

   engaged in commerce.

          11.      Plaintiff DANIELLE HERSLEBS was employed by Defendants from January

   2016 through March 2017 as a CSA, during which time she was engaged in commerce.

          12.      This action is brought under the FLSA to recover unpaid overtime

   compensation owed to Plaintiffs and all others similarly situated who are or were employed by

   Defendants as CSAs.



                                                 2
Case 6:18-cv-00504-PGB-GJK Document 22 Filed 05/15/18 Page 3 of 6 PageID 110




           13.    Plaintiffs and others similarly situated were employees of Defendants under the

   FLSA.

           14.    Defendants failed to comply with the FLSA because Plaintiffs, and other

   similarly situated employees, were regularly required to work in excess of forty (40) hours a

   workweek but were not paid overtime compensation as required by the FLSA.

           15.    The additional persons who may become Plaintiffs in this action are employees

   who held positions similarly situated to Plaintiff and who were required to work in excess of

   forty (40) hours a workweek but were not paid overtime compensation as required by the

   FLSA.

           16.    Defendant BURR is subject to individual liability under the FLSA because he

   acted directly or indirectly in the interest of the employer in relation to Plaintiffs, exercised

   significant control over the company’s operations, has the power to hire and fire employees,

   the power to determine salaries, the responsibility to maintain employment records and has

   operational control over significant aspects of the company’s day-to-day functions.

           17.    Defendants’ violations of the FLSA were knowing, willful and in reckless

   disregard of the rights of Plaintiffs and all other similarly situated. Defendants did not have

   reasonable grounds for believing that their acts were not a violation of the FLSA.

           18.    During his employment, Plaintiff PEDRO GONZALEZ complained to

   management, objecting to Defendants’ failure to properly pay overtime compensation. After

   Plaintiff PEDRO GONZALEZ objected to the unlawful pay practices, Defendants terminated

   his employment in retaliation for his protected activity under the FLSA.

           19.    During her employment, Plaintiff DANIELLE HERSLEBS complained to



                                                  3
Case 6:18-cv-00504-PGB-GJK Document 22 Filed 05/15/18 Page 4 of 6 PageID 111




   management, objecting to Defendants’ failure to properly pay overtime compensation. After

   Plaintiff DANIELLE HERSLEBS objected to the unlawful pay practices, Defendants

   terminated her employment in retaliation for her protected activity under the FLSA.

           20.     Plaintiffs have been required to retain the undersigned counsel to represent them

   in this action and are obligated to pay them a reasonable fee for their services.

                                       COUNT I
                          OVERTIME – FLSA (BOTH DEFENDANTS)

           21.     Plaintiffs hereby incorporate by reference the allegations contained in

   Paragraphs 1 to 19 as if fully restated herein.

           22.     During the three (3) year period prior to filing this action, Defendants failed to

   pay Plaintiffs and all other similarly situated employees overtime compensation for hours

   worked over forty (40) in a workweek.

           23.     Defendants’ failure to pay Plaintiffs and all other similarly situated employees

   overtime compensation for hours worked over forty (40) in any workweek constitutes a

   violation of the FLSA, 29 U.S.C. § 207.

           24.     Defendants’ violations of the FLSA were knowing, willful and in reckless

   disregard of the rights of Plaintiffs and all other similarly situated.

           WHEREFORE, Plaintiffs respectfully request, on behalf of themselves and all others

   similarly situated, that this Court issue an Order awarding damages in the amount of the unpaid

   overtime compensation owed, awarding liquidated damages pursuant to 29 U.S.C. § 216(b),

   awarding reasonable attorneys’ fees and costs pursuant to 29 U.S.C. § 216(b), awarding

   injunctive relief requiring Defendants to comply with the FLSA, and awarding all such other

   relief as the Court deems just and appropriate.


                                                     4
Case 6:18-cv-00504-PGB-GJK Document 22 Filed 05/15/18 Page 5 of 6 PageID 112




                                       COUNT II
                        RETALIATION – FLSA (BOTH DEFENDANTS)

          25.     Plaintiffs hereby incorporate by reference the allegations contained in

   Paragraphs 1 to 20 as if fully restated herein.

          26.     Section 15(a)(3) of the FLSA states that it is a violation for any person to

   “discharge or in any other manner discriminate against any employee because such employee

   has filed any complaint or instituted or caused to be instituted any proceeding under or related

   to this Act, or has testified or is about to testify in any such proceeding….”

          27.     By complaining about Defendants’ unlawful pay practices which were violative

   of the FLSA, Plaintiffs engaged in an activity protected by the FLSA.

          28.     By being discharged, Plaintiffs suffered adverse actions by Defendants

   immediately subsequent to their protected activity.

          29.     Plaintiffs’ terminations and other adverse employment actions were directly

   caused by, and was a result of, their protected activity.

          30.     By discharging Plaintiffs and otherwise imposing adverse employment actions

   upon them because of their statutorily protected activity, Defendants engaged in unlawful

   retaliation in violation of 29 U.S.C. § 215(a).

          31.     Plaintiffs have suffered damages including lost wages, lost benefits, emotional

   distress, anguish, interest and attorney’s fees and costs.

          WHEREFORE, Plaintiffs demand judgment against Defendants and relief in the form

   of:

          (i)     Economic damages, including lost wages, benefits, and other remuneration;

          (ii)    Reinstatement of full fringe benefits;


                                                     5
Case 6:18-cv-00504-PGB-GJK Document 22 Filed 05/15/18 Page 6 of 6 PageID 113




          (iii)   Front and back pay;

          (iv)    Liquidated damages;

          (v)     Any other compensatory damages allowable under the law;

          (vi)    Attorneys’ fees and costs pursuant to the FLSA;

          (vii)   Emotional distress damages;

          (viii) Prejudgment and post-judgment interest; and

          (ix)    Any other relief the Court deems appropriate.

                                     JURY TRIAL DEMAND

          Plaintiffs demand trial by jury as to all issues.

                                                  Respectfully submitted,

                                                  WHITTEL & MELTON, LLC
                                                  /s/ Jay P. Lechner
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                                                  Attorneys for Plaintiff

                                  CERTIFICATE OF SERVICE
          I hereby certify that on this 15th day of May, 2018, I electronically filed the foregoing
   with the Clerk of the Court by using the CM/ECF system, which automatically served the
   foregoing document and the notice of electronic filing by electronic mail to the following
   CM/ECF participants: najohnson@littler.com; and kdoud@littler.com.

                                                          /s/ Jay P. Lechner__________
                                                          Jay P. Lechner, Esq.


                                                   6
